                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                      AT KNOXVILLE



 ALLEN YOUNG,

               Petitioner,

 v.                                               3:02-cr-78
                                                  (3:07-cv-71)


 UNITED STATES OF AMERICA,

               Respondent.


                                MEMORANDUM OPINION



       This is a motion to vacate, set aside or correct sentence pursuant to 28 U.S.C. § 2255.

 The Clerk is DIRECTED to serve a copy of the motion and this Memorandum Opinion and

 accompanying Judgment Order on the United States Attorney. However, for the reasons

 stated below, the United States Attorney shall not be required to file an answer or other

 pleading to the motion, and the motion will be DENIED.

       Petitioner was convicted on drug and firearm charges. On direct appeal, his

 convictions were affirmed but the case was remanded for resentencing. The court entered

 an amended judgment and petitioner again appealed. The direct appeal of his resentencing

 is pending.




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       Absent extraordinary circumstances, a district court is precluded from entertaining a

 § 2255 motion while a direct appeal from the same conviction is still pending. Capaldi v.

 Pontesso, 135 F.3d 1122, 1124 (6th Cir. 1998). This case presents no extraordinary

 circumstances compelling district court review at this time. Accordingly, the motion to

 vacate, set aside or correct sentence will be DENIED and this action DISMISSED

 WITHOUT PREJUDICE.

       The court CERTIFIES that any appeal from this action would not be taken in good

 faith and would be totally frivolous. A certificate of appealability SHALL NOT ISSUE.

 28 U.S.C. § 2253. The court will DENY the petitioner leave to proceed in forma pauperis

 on appeal. See Rule 24 of the Federal Rules of Appellate Procedure.



       AN APPROPRIATE ORDER WILL ENTER.


                                                         s/ James H. Jarvis
                                                    United States District Judge




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